                      EXHIBIT A




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Label Matrix for local noticing                   Asset Realty LLC                                U.S. Bankruptcy Court
0981-2                                            121 Lake Street South                           700 Stewart St, Room 6301
Case 23-10326-MLB                                 Suite 201                                       Seattle, WA 98101-4441
Western District of Washington                    Kirkland, WA 98033-9025
Seattle
Wed Feb 21 11:34:47 PST 2024
AmeriCredit Financial Services, Inc. dba GM       American Express National Bank                  Bliss Law Group, LLC
P O Box 183853                                    c/o Becket and Lee LLP                          P.O. Box 1339
Arlington, TX 76096-3853                          PO Box 3001                                     Gig Harbor, WA 98335-3339
                                                  Malvern PA 19355-0701


Bliss Law Group, LLC                              C21 Corporate Franchise                         Capital One
c/o Scott E. Alexander                            175 Park Avenue                                 PO Box 30285
Attorney at Law                                   Madison, NJ 07940-1123                          Salt Lake City, UT 84130-0285
P.O. Box 1339
5801 Soundview Drive; Suite 258
Gig Harbor, WA 98335-2200
Capital One N.A.                                  Century 21 Real Estate LLC                      Chad Storey
by American InfoSource as agent                   c/o K&L Gates LLP                               121 Lake St. S.
PO Box 71083                                      Attn: Daniel M. Eliades, Esq.                   Ste 201
Charlotte, NC 28272-1083                          One Newark Center, 10th Floor                   Kirkland WA 98033-9025
                                                  Newark, NJ 07102-5237

David J. Kovanen, and putative class              David Kovanen                                   Dennis McGlothin
Andrew P. Green                                   c/o Green & Wilmot PLLC                         121 Lake Street South
Green & Wilmot, PLLC                              1919 N. Pearl Street Suite B-3                  Suite 201
1919 N. Pearl St., Ste. B-3                       Tacoma WA 98406-2489                            Kirkland, WA 98033-9025
Tacoma, WA 98406-2489

Department of Treasury - Internal Revenue Se      GM Financial                                    General Star National Ins Co.
PO Box 7346                                       801 Cherry Street                               c/o Gregory Worden
Philadelphia, PA 19101-7346                       Suite 3500                                      1111 Third Avenue Suite 2700
                                                  Fort Worth, TX 76102-6854                       Seattle WA 98101-3224


Internal Revenue Service                          Jack Lovejoy                                    Jack M. Lovejoy
PO Box 7346                                       1015 Second Avenue                              1015 Second Avenue Floor 10
Philadelphia, PA 19101-7346                       Floor 10                                        Seattle, WA 98104-1001
                                                  Seattle, WA 98104-1001


Michael Brubaker                                  Nate Arnold                                     P.O. Box 981540
14506 NE 184TH PL                                 8201 164th Ave NE                               El Paso, TX 79998-1540
WOODINVILLE, WA 98072-9239                        Suite 200
                                                  Redmond, WA 98052-7615


Provident Building LLC                            Robert Wolford                                  SCOTT E ALEXANDER
c/o Olsen Branson PLLC                            c/o Michael Brubaker                            P.O. Box 1339
205 S. Meridian                                   14506 NE 184th Place                            Gig Harbor, WA 98335-3339
Puyallup WA 98371-5915                            Woodinville WA 98072-9239


Scott B. Henrie                                   US Small Business Administration                US Small Business Administration
Williams, Kastner & Gibbs PLLC                    14925 Kingsport Road                            PO Box 3918
601 Union Street, Suite #4100                     Fort Worth, TX 76155-2243                       Portland, OR 97208-3918
Seattle, WA 98101-2380

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United States Trustee                                Williams Kastner Gibbs                               Williams, Kastner & Gibbs PLLC
700 Stewart St Ste 5103                              601 Union Street                                     c/o Scott Henrie/WKG
Seattle, WA 98101-4438                               #4100                                                601 Union Street, Suite #4100
                                                     Seattle, WA 98101-2380                               Seattle, WA 98101-2380


eXp World Holdings, Inc.                             David J. Kovanen                                     Deborah A Crabbe
1015 Second Avenue Floor 10                          c/o Jennifer Rust Murray                             1111 3rd Ave Ste 3400
Seattle, WA 98104-1001                               Terrell Marshall Law Group, PLLC                     Seattle, WA 98101-3299
                                                     936 N. 34th St., Ste 300
                                                     Seattle, WA 98103-8869

Edmund J Wood                                        James E. Dickmeyer
303 N 67th St                                        James E. Dickmeyer, PC
Seattle, WA 98103-5209                               520 Kirkland Way Ste 400
                                                     PO Box 2623
                                                     Kirkland, WA 98083-2623




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Arnold and Jacobowitz PLLC                        (u)Century 21 Real Estate LLC                        (u)Courtesy NEF




(u)Forrester and Worth PLLC                          (u)General Star National Insurance Company           (u)Hansen & Cogar PLLC




(u)Lee Smart law firm                                (u)Western Washington Law Group PLLC                 (u)eXp World Holdings, Inc.




(u)American Express                                  (u)Dennis McGlothin                                  (u)Kent Hansen




(u)Nathan J Arnold                                   (u)S Cary Forrester                                  End of Label Matrix
                                                                                                          Mailable recipients      37
                                                                                                          Bypassed recipients      14
                                                                                                          Total                    51




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